      Douglas R. Ricks, OSB #044026
      Christopher N. Coyle, OSB #073501
      VANDEN BOS & CHAPMAN, LLP
      319 SW Washington St., Ste. 520
      Portland, OR 97204
      Telephone: 503-241-4869
      Fax: 503-241-3731

               Of Attorneys for Debtor-in-Possession




                             IN THE UNITED STATES BANKRUPTCY COURT

                                     FOR THE DISTRICT OF OREGON

       In re                                        Case No. 22-31873-thp11

       Blue Moon Property Group, LLC                APPLICATION OF DEBTOR FOR
                                                    AUTHORITY TO EMPLOY REALTOR
                                                    (Mary Jo Avery of Avery Bunick Luxury
                Debtor-in-Possession                Properties, Inc.)

                                                   NOTICE

               If you oppose the proposed course of action or relief sought in this Application, you

      must file a written objection with the bankruptcy court no later than twenty-one (21) days

      after the date listed in the certificate of service below. If you do not file an objection, the

      court may grant the Application without further notice or hearing. Your objection must set

      forth the specific grounds for objection and your relation to the case. The objection must be

      received by the clerk of court at 1050 SW 6th Avenue #700, Portland, OR 97204, by the

      deadline specified above or it may not be considered. You must also serve the objection on

      Debtor, c/o Douglas R. Ricks, Vanden Bos & Chapman, LLP, 319 SW Washington Street,

      Suite 520, Portland, OR 97204 (503) 241-4869, within that same time. If the court sets a




Page 1 of 3    APPLICATION OF DEBTOR FOR AUTHORITY TO EMPLOY REALTORS                 VANDEN BOS & CHAPMAN, LLP
                                                                                                 Attorneys at Law
               (Mary Jo Avery of Avery Bunick Luxury Properties, Inc.))                 319 SW Washington Street, Suite 520
                                                                                           Portland, Oregon 97204-2690
                                                                                                  (503) 241-4869
                            Case 22-31873-thp11       Doc 25    Filed 12/07/22
      hearing, you will receive a separate notice listing the hearing date, time, and other relevant

      information.

                                               APPLICATION

              The Applicant, Debtor-in-Possession, Blue Moon Property Group, LLC ("Debtor"),

      respectfully requests entry of the proposed order attached hereto as Exhibit A (the

      “Proposed Order”) and represents as follows:

              1.     Debtor has filed a petition under Chapter 11 of the Bankruptcy Code.

              2.     Debtor wishes to employ, Mary Jo Avery of Avery Bunick Luxury Properties, Inc.

      (“Professional”), 15540 Boones Ferry Rd., Lake Oswego, OR 97034, Phone: 503.799.3839,

      as its selling agent and authorize Debtor to enter into and/or assume that certain RMLS

      Oregon Exclusive Right to Sell - Listing Contract (together with Change Forms as

      applicable) and associated agreements (collectively, the “Listing Agreement”) attached

      hereto as Exhibit 1 to the Proposed Order with respect to the real property located at 3220

      Southshore Blvd, Lake Oswego, Oregon (the “Property”). The Listing Agreement provides a

      commission of five and one quarter percent (5.25%) of the gross sales price on the sale of

      the Property executed during the term of the Listing Agreement.

              1.     Debtor has selected Professional for the reason that Professional has

      experience in matters of this character.

              2.     To the best of Debtor's knowledge, Professional has no connection with the

      creditors or any other adverse party or its attorneys, except as disclosed in the Rule 2014

      Verified Statement on file herein.

              3.     Professional represents no interest adverse to the Debtor as debtor-in-

      possession or to the estate in the matters upon which Professional is to be engaged, except



Page 2 of 3   APPLICATION OF DEBTOR FOR AUTHORITY TO EMPLOY REALTORS               VANDEN BOS & CHAPMAN, LLP
                                                                                              Attorneys at Law
              (Mary Jo Avery of Avery Bunick Luxury Properties, Inc.))               319 SW Washington Street, Suite 520
                                                                                        Portland, Oregon 97204-2690
                                                                                               (503) 241-4869
                             Case 22-31873-thp11     Doc 25    Filed 12/07/22
      as disclosed in the Rule 2014 Verified Statement on file herein. The employment of

      Professional would be in the best interests of the estate.

              WHEREFORE, Debtor prays as follows:

              1.    That Debtor shall be authorized to employ Professional as Debtor's realtor

      with the exclusive right to market the Property for sale; and

              2.    Debtor further prays for entry of the Proposed Order attached hereto

      approving the terms and conditions of Professional’s Listing Agreement.

              DATED: December 5, 2022

       VANDEN BOS & CHAPMAN, LLP                    BLUE MOON PROPERTY GROUP, LLC


       By:/s/Douglas R. Ricks                       By:/s/Ronald Sapp
         Douglas R. Ricks, OSB #044026                 Ronald Sapp, For Agent of Member
         Of Attorneys for Debtor-in-Possession         Brilliant Homes LLC
                                                       Debtor-in-Possession




Page 3 of 3   APPLICATION OF DEBTOR FOR AUTHORITY TO EMPLOY REALTORS            VANDEN BOS & CHAPMAN, LLP
                                                                                           Attorneys at Law
              (Mary Jo Avery of Avery Bunick Luxury Properties, Inc.))            319 SW Washington Street, Suite 520
                                                                                     Portland, Oregon 97204-2690
                                                                                            (503) 241-4869
                          Case 22-31873-thp11      Doc 25    Filed 12/07/22
                              IN THE UNITED STATES BANKRUPTCY COURT

                                      FOR THE DISTRICT OF OREGON

       In re                                         Case No. 22-31873-thp11

       Blue Moon Property Group, LLC                 ORDER FOR THE EMPLOYMENT OF
                                                     REALTOR FOR DEBTOR-IN-POSSESSION
               Debtor-in-Possession.                 (Mary Jo Avery of Avery Bunick Luxury
                                                     Properties, Inc.)

               THIS MATTER having come before the court upon the application of Debtor-in-

      Possession, Blue Moon Property Group, LLC (“Debtor”), praying for authority to employ and

      appoint the Mary Jo Avery of Avery Bunick Luxury Properties, Inc. as Debtor’s realtor and

      that the connections disclosed in the Rule 2014 Verified Statements on file herein do not

      constitute adverse interests, that Professional represents no interest adverse to the Debtor

      as Debtor-in-Possession herein on the matters upon which Professional is to be engaged,

      or to the estate, (except as disclosed in the Rule 2014 Verified Statement on file herein),

      that the Professional’s employment is necessary and would be in the best interest of the

      estate, and the time for filing an objection having expired and the Court being otherwise fully

      advised, it is hereby

Page 1 of 2     ORDER FOR THE EMPLOYMENT OF REALTOR FOR DEBTOR-IN-                    VANDEN BOS & CHAPMAN, LLP
                                                                                                 Attorneys at Law
                POSSESSION (Mary Jo Avery of Avery Bunick Luxury Properties, Inc.))     319 SW Washington Street, Suite 520
                                                                                           Portland, Oregon 97204-2690
EXHIBIT A - Page 1 of 17                                                                          (503) 241-4869



                            Case 22-31873-thp11        Doc 25     Filed 12/07/22
              ORDERED that:

              1.     Debtor is authorized to employ Professional as its realtor. The terms and

      conditions of the employment of Professional, are set forth in the Listing Agreement

      attached as Exhibit 1.

              2.     That compensation shall be set by the Court to be paid upon Applicant's

      compliance with the procedures set forth in 11 U.S.C. §§ 330 and/or 331.

              This Order shall be effective only if the firm to which it applies does not hold or

      represent an interest adverse to the estate and is a "disinterested person" as defined by 11

      U.S.C. §101(14)

                                                      ###

      PRESENTED BY:

       VANDEN BOS & CHAPMAN, LLP                                 First Class Mail:

                                                                 Blue Moon Property Group, LLC
       By:/s/Douglas R. Ricks                                    Attn: Ronald Sapp
          Douglas R. Ricks, OSB #044026                          17600 Pacific Hwy Unit 338
          Christopher N. Coyle, OSB #073501                      Marylhurst, OR 97036
          Of Attorneys for Debtor-in-Possession
                                                                 Avery Bunick Luxury Properties
       LBR 9021-1 CERTIFICATION                                  Attn: Mary Jo Avery
       I certify that I have complied with the                   15540 Boones Ferry Rd.
       requirement of LBR 9021-1(a); Order was                   Lake Oswego, OR 97034
       attached to the Motion..
                                                                 Electronic Mail:

       By:/s/Douglas R. Ricks                                    The foregoing was served on all
          Douglas R. Ricks, OSB #044026                          CM/ECF participants through the
          Christopher N. Coyle, OSB #073501                      Court's Case Management/Electronic
                                                                 Case File system




Page 2 of 2    ORDER FOR THE EMPLOYMENT OF REALTOR FOR DEBTOR-IN-                    VANDEN BOS & CHAPMAN, LLP
                                                                                                Attorneys at Law
               POSSESSION (Mary Jo Avery of Avery Bunick Luxury Properties, Inc.))     319 SW Washington Street, Suite 520
                                                                                          Portland, Oregon 97204-2690
EXHIBIT A - Page 2 of 17                                                                         (503) 241-4869



                           Case 22-31873-thp11        Doc 25     Filed 12/07/22
EXHIBIT A - Page 3 of 17
     EXHIBIT 1 - Page 1 of 15 22-31873-thp11
                        Case                   Doc 25   Filed 12/07/22
EXHIBIT A - Page 4 of 17
     EXHIBIT 1 - Page 2 of 15 22-31873-thp11
                        Case                   Doc 25   Filed 12/07/22
EXHIBIT A - Page 5 of 17
     EXHIBIT 1 - Page 3 of 15 22-31873-thp11
                        Case                   Doc 25   Filed 12/07/22
EXHIBIT A - Page 6 of 17
     EXHIBIT 1 - Page 4 of 15 22-31873-thp11
                        Case                   Doc 25   Filed 12/07/22
EXHIBIT A - Page 7 of 17
     EXHIBIT 1 - Page 5 of 15 22-31873-thp11
                        Case                   Doc 25   Filed 12/07/22
EXHIBIT A - Page 8 of 17
     EXHIBIT 1 - Page 6 of 15 22-31873-thp11
                        Case                   Doc 25   Filed 12/07/22
EXHIBIT A - Page 9 of 17
     EXHIBIT 1 - Page 7 of 15 22-31873-thp11
                        Case                   Doc 25   Filed 12/07/22
EXHIBIT A - Page 10 of 17
     EXHIBIT 1 - Page 8 of 15 22-31873-thp11
                        Case                   Doc 25   Filed 12/07/22
EXHIBIT A - Page 11 of 17
     EXHIBIT 1 - Page 9 of 15 22-31873-thp11
                        Case                   Doc 25   Filed 12/07/22
EXHIBIT A - Page 12 of 17
     EXHIBIT 1 - Page 10Case
                         of 15 22-31873-thp11   Doc 25   Filed 12/07/22
EXHIBIT A - Page 13 of 17
     EXHIBIT 1 - Page 11Case
                         of 15 22-31873-thp11   Doc 25   Filed 12/07/22
EXHIBIT A - Page 14 of 17
     EXHIBIT 1 - Page 12Case
                         of 15 22-31873-thp11   Doc 25   Filed 12/07/22
EXHIBIT A - Page 15 of 17
     EXHIBIT 1 - Page 13Case
                         of 15 22-31873-thp11   Doc 25   Filed 12/07/22
                          Blue Moon Property Group, LLC, Blue Moon Property Group, LLC                            22383853

                             3220 Southshore Blvd, Lake Oswego, OR 97034



                                                              n/a




                                         n/a                                 n/a




Seller authorizes Sellers Agents to solely present all offers to purchase our home without the presence of the
Buyer's Agent.




                            L. Dawn Hanavan                                                     Blue
                                                                                                  ue Moon
                                                                                                      oo Property
                                                                                                           op
                                                                                                            p     Group, LLC




                      Mary
                         y Jo Avery
                                  y                                                             Blue Moon Property Group, LLC




Avery Bunick Luxury Properties, 15540 Boones Ferry Rd Lake Oswego OR 97035                       5037993839                  3220 Southshore
Mary Jo Avery
  EXHIBIT A - Page 16 of 17
            EXHIBIT 1 - Page 14Case
                                of 15 22-31873-thp11                               Doc 25   Filed 12/07/22
                          Blue Moon Property Group, LLC                                                           22383853

                             3220 Southshore Blvd, Lake Oswego, OR 97034



                                                              n/a




                                           2,150,000.00

                                         n/a                                 n/a




                            L. Dawn
                                a   Hanavan
                                     a a a                                                      Blue
                                                                                                  ue
                                                                                                  u  Moon
                                                                                                    eM oo  Property
                                                                                                        on Propert
                                                                                                              p     Group, LLC




                         y Jo Avery
                      Mary        y




Avery Bunick Luxury Properties, 15540 Boones Ferry Rd Lake Oswego OR 97035                       5037993839                  3220 Southshore
Mary Jo Avery
  EXHIBIT A - Page 17 of 17
            EXHIBIT 1 - Page 15Case
                                of 15 22-31873-thp11                               Doc 25   Filed 12/07/22
                       UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF OREGON

 In re
                                          Case No. 22-31873-thp11
 Blue Moon Property Group, LLC              Amended

                                          VERIFIED STATEMENT IN SUPPORT OF
 Debtor                                   EMPLOYMENT APPLICATION

Instructions to filer: This statement must be completed by each person proposed to be
employed under 11 U.S.C. § 327, 1103, or 1114. If the application also seeks approval
of employment of my firm, this form must be completed and signed on behalf of the firm
by the member, associate, or employee of the firm who is expected to be primarily
responsible for the engagement. If the firm is a law firm proposed to provide services in
the case or an associated adversary proceeding, this form must be completed on behalf
of the firm by the attorney of record. Any amended statement must include “Amended” in
the title, be complete, and clearly identify changes from the previous filed version.
Italicized text below constitutes further instructions.

I, ___________________________________________,
   Mary Jo Avery                                          make this statement in support
of the application for approval of my employment by [enter name of proposed employer,
for example, name of debtor in possession, trustee, or creditors committee]
_____________________________________________
Blue Moon Property Group, LLC                              (employer). If the application
also seeks approval of employment of my firm, I make this statement on behalf of myself,
my firm, and each other member, associate, or employee of my firm whom I expect to
perform services for the employer in or in connection with this case, and each statement
below is on behalf of each of those persons. Otherwise, paragraphs 2.3 and 2.5 below
do not apply to this statement.

1. Disinterestedness

   1.1. I am not a creditor of the debtor except:
          N/A




   1.2. I am not an equity security holder of the debtor.

   1.3. I am not and was not, within two years before the date of the filing of the petition,
        a director, officer, or employee of the debtor.

   1.4. I do not have an interest materially adverse to the interest of the estate or of any
        class of creditors or equity security holders by reason of any direct or indirect
        relationship to, connection with, or interest in the debtor or for any other reason.


1114 (12/1/2022)                        Page 1 of 4

                    Case 22-31873-thp11       Doc 25    Filed 12/07/22
2. Insider status

   2.1. I am not a relative of the individual debtor [“Relative” means an individual related
        by affinity or consanguinity within the third degree as determined by the common
        law or individual in a step or adoptive relationship within that third degree.]
   2.2. I am not a relative of an individual general partner of the debtor.

   2.3. My firm is not a partnership in which the debtor is a general partner.

   2.4. I am not a general partner of or in the debtor.

   2.5. My firm is not a corporation of which the debtor is a director, officer, or person in
        control. [“Corporation” has the meaning in 11 U.S.C. § 101(9) and includes
        limited liability company but not limited partnership.]

   2.6. I am not an officer or director of the debtor.

   2.7. I am not a person in control of the debtor.

   2.8. I am not a relative of a general partner, director, officer, or person in control of
        the debtor.

   2.9. If the debtor is a municipality, I am not an elected official of the debtor or a relative
        of an elected official of the debtor.

   2.10. I am not a managing agent of the debtor.

3. Affiliates of the debtor [If the debtor has no affiliates, the affiliates list should say
   “None.” In the balance of this statement, “affiliate” means an affiliate on the affiliates
   list below.]

   3.1. If I am an attorney proposed for employment as general bankruptcy counsel for
        the trustee or chapter 11 debtor in possession, the trustee or debtor in
        possession has with my advice prepared the list below of the debtor’s affiliates,
        as that term is defined in 11 U.S.C. § 101(2), including each affiliate’s name and
        relationship to the debtor.

   3.2. If I am not an attorney described in paragraph 3.1 above, I have obtained from
        the trustee, chapter 11 debtor in possession, or the general bankruptcy counsel
        for the trustee or debtor in possession the list below of the debtor’s affiliates,
        prepared in accordance with paragraph 3.1 above.

   3.3. I am not an affiliate or an insider of an affiliate as if such affiliate were the debtor.
        [“Insider” includes persons and other entities having a relation to the debtor
        listed in part 2 above.]




1114 (12/1/2022)                          Page 2 of 4

                     Case 22-31873-thp11        Doc 25     Filed 12/07/22
4. Employment by chapter 11 committee

   If I am proposed to be employed by a chapter 11 committee of creditors, equity-
   security holders, or retirees, I do not represent any other entity having an adverse
   interest in connection with the case.

5. Connections

   I have no business, professional, personal, financial, or other connections with the
   debtor, affiliates, creditors, any party in interest, their respective attorneys and
   accountants, the United States trustee, or any person employed in the office of the
   United States trustee except:
   To Be Provided by Amendment.




6. Compensation

   6.1. If I am an attorney representing the debtor in or in connection with this case, the
        following are the details of all compensation paid or agreed to be paid to me
        within one year before the petition date for services rendered or to be rendered
        in contemplation of or in connection with this case, including payments made to
        me by either the debtor or a third party for any services rendered to the debtor
        within one year before filing of the petition:




   6.2. If I am proposed to be employed by the trustee or, in a chapter 11 case, by the
        debtor in possession or a committee of creditors, equity-security holders, or
        retirees, I do not represent or hold an interest adverse to the interest of the
        estate with respect to the matter on which I am proposed to be employed.

If, during this case, any of the above statements ceases to be correct because of events
occurring or information that I gain after the petition date, I agree to immediately file an
amended statement on this form, include “amended” in the title, and clearly identify any
changes.



1114 (12/1/2022)                        Page 3 of 4

                    Case 22-31873-thp11       Doc 25    Filed 12/07/22
I verify under penalty of perjury that the foregoing is true and correct.

Executed on 12/06/2022
            ___________. Avery Bunick Luxury Properties, Inc.


                          __________________________________________________
                          /s/ Mary Jo Avery
                          Signature of individual proposed to be employed

                          __________________________________________________
                          Mary Jo Avery
                          Printed name of signer

                          __________________________________________________
                          Avery Bunick Luxury Properties, Inc.
                          Address (including firm name, if applicable)

                          __________________________________________________
                          15540 Boones Ferry Rd.


                          __________________________________________________
                          Lake Oswego, OR 97034




                        LIST OF AFFILIATES OF THE DEBTOR
                         See instructions in paragraph 3 above.

         Name of Affiliate                  Relationship of Affiliate to the Debtor
Brilliant Homes LLC                  Sole member - 100% ownership interest

Ronnie Sapp                          Member of Brilliant Homes LLC with a 90% ownership
                                     interest




1114 (12/1/2022)                         Page 4 of 4

                     Case 22-31873-thp11       Doc 25    Filed 12/07/22
In re Blue Moon Property Group, LLC
Ch 11 Bankruptcy Case No. 22-31873-thp11


                               CERTIFICATE - TRUE COPY

DATE:             December 7, 2022

DOCUMENT:        APPLICATION OF DEBTOR FOR AUTHORITY TO EMPLOY REALTOR
                 (Mary Jo Avery of Avery Bunick Luxury Properties, Inc.) AND RULE 2014
                 VERIFIED STATEMENT OF PROPOSED PROFESSIONAL (Mary Jo
                 Avery of Avery Bunick Luxury Properties, Inc.)

       I hereby certify that I prepared the foregoing copies of the foregoing named
documents and have carefully compared the same with the originals thereof and they
are correct copies therefrom and of the whole thereof.

                               CERTIFICATE OF SERVICE

        I hereby certify that I served copies of the foregoing on:

        Blue Moon Property Group, LLC           Avery Bunick Luxury Properties
        Attn: Ronald Sapp                       Attn: Mary Jo Avery
        17600 Pacific Hwy Unit 338              15540 Boones Ferry Rd.
        Marylhurst, OR 97036                    Lake Oswego, OR 97034

by mailing copies of the above-named documents to each of the above in a sealed
envelope addressed to the last known address. Each envelope was deposited into the
postal system at Portland, Oregon, on the below date, postage prepaid.
      I hereby certify that the foregoing was served on all CM/ECF participants through
the Court's Case Management/Electronic Case File system on the date set forth below.

 Dated: December 7, 2022                VANDEN BOS & CHAPMAN, LLP



                                        By:/s/Douglas R. Ricks
                                           Douglas R. Ricks, OSB #044026
                                           Christopher N. Coyle, OSB #073501
                                           Of Attorneys for Debtor-in-Possession




Page 1 – CERTIFICATE OF SERVICE



                     Case 22-31873-thp11       Doc 25    Filed 12/07/22
